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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES -- GENERAL

Case No.      CV 18-2421-JFW(Ex)                                                  Date: August 7, 2018

Title:        Broidy Capital Management, LLC, et al. -v- State of Qatar, et al.

PRESENT:
             HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

              Shannon Reilly                                 None Present
              Courtroom Deputy                               Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                   ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                None

PROCEEDINGS (IN CHAMBERS):               ORDER TAKING UNDER SUBMISSION STONINGTON
                                         DEFENDANTS’ MOTION TO DISMISS THE FIRST
                                         AMENDED COMPLAINT [filed 7/9/18; Docket No. 129]

       The Stonington Defendants’ Motion to Dismiss the First Amended Complaint is currently on
calendar for August 13, 2018, at 1:30 p.m. Pursuant to Rule 78 of the Federal Rules of Civil
Procedure and Local Rule 7-15, the Court finds that this matter is appropriate for decision without
oral argument. The hearing calendared for August 13, 2018, is hereby vacated and the matter is
taken off calendar. The matter will be deemed submitted on the vacated hearing date and the
clerk will notify the parties when the Court has reached a decision.


         IT IS SO ORDERED.




                                                                                  Initials of Deputy Clerk sr
